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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION           DEFENDANT      BP Objection             Other Comments
                                                                                      LIST
TREX‐00001                               Bly Report Page 56                      HESI      Generally admissible,
                                                                                           except for inadmissible
                                                                                           materials contained
                                                                                           therein (MBI testimony
                                                                                           (46 U.S.C. Sec. 6308(a)
                                                                                           and supporting
                                                                                           caselaw)).



TREX‐00002                               Appendix K. Laboratory Analysis of      HESI          Incomplete (FRE 106); First page is not part
                                         Cementing Operations on the                           generally admissible,   of appendices.
                                         Deepwater Horizon (from CSI                           except for inadmissible
                                         Technologies)                                         materials contained
                                                                                               therein (MBI testimony
                                                                                               (46 U
                                                                                                   U.S.C.
                                                                                                     S C Sec
                                                                                                          Sec. 6308(a)
                                                                                               and supporting
                                                                                               caselaw)).


TREX‐00096     BP‐HZN‐BLY00097030 ‐ BP‐ E‐Mail ‐ From: Corser, Kent Sent: Tue BP PARTIES
               HZN‐                     Jun 22 21:33:30 2010 ‐
               BLY00097033              To: Brock, Tony; Robinson, Steve W
                                        (Alaska) Subject: FW: John Guide Email
                                        Capture
TREX‐00097     BP‐HZN‐                  E‐Mail ‐ From: Morel, Brian P Sent:    BP PARTIES
               2179MDL00060995          Monday, April 26, 2010 6:40 AM ‐ To:
                                        Holik, Cynthia M Subject: FW: Ops Note




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                                                                                LIST
TREX‐00151     BP‐HZN‐BLY00124205‐BP‐ Email from James Lucari to Thorn on  HESI      Contains hearsay within
               HZN‐                   07/10/2010 Re: Final BP Incident               hearsay repeated by
               BLY00124216            Investigation Team Interview Summary           intervierwer or
                                      Notes for Sims and Guide Interviews            interviewee (FRE 802)
                                                                                     with respect to
                                                                                     comment attributed to
                                                                                     Jimmy Harrell "Are you
                                                                                     fucking happy, the rigs
                                                                                     on fire now. I knew this
                                                                                     would happen"; this is
                                                                                     admission against TO
                                                                                     but otherwise this
                                                                                     hearsay within hearsay
                                                                                     is inadmissible


TREX‐00206     BP‐HZN‐                  E‐Mail ‐ From: Winters, Warren J Sent: BP PARTIES     Hearsay (FRE 802) as to
               2179MDL00323759          Monday, May 17 2010 4:43 PM ‐                         unidentified
                                        Subject: RE: CSI Technologies                         handwriting; PSC has
                                                                                              agreed to redact
                                                                                              handwriting.
TREX‐00287     HAL_0577248‐           Email from Jesse Gagliano to BP       HESI
               HAL_0577296            Engineers and Rig Personnel on
                                      04/18/2010 Re: Updated Infor for Prod
                                      Casing job
TREX‐00380     BP‐HZN‐BLY00185542‐BP‐ BP FINAL DRAFT Last Revision: 5/14/09 HESI
               HZN‐                   Cement Slurry and Spacer
               BLY00185566            T+D276esting Protocol and Test Matrix
                                      for BP‐GOM
TREX‐00586     CAM_CIV_0000025        Cameron BOP schematic                 CAM
TREX‐00596     BP‐HZN‐                Well Control Handbook                 TO
               2179MDL00330768 ‐ BP‐
               HZN‐2179MDL00331163



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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                    LIST
TREX‐00597     BP‐HZN‐IIT‐0002370 ‐ BP‐   DEEPWATER HORIZON EMERGENCY            TO                                     Please include
               HZN‐IIT‐                   RESPONSE MANUAL ‐ Volume 1 of 2                                               Volume 2
               0002741 BP‐
               HZN‐MBI00131953 ‐ BP‐
               HZN‐
               MBI00132325
TREX‐00670     BP‐HZN‐                E‐Mail ‐ From: Guide, John Sent: Wed       TO
               2179MDL00833501        Feb 10 14:58:08 2010 ‐ Subject: RE:
                                      Subsea
TREX‐00684     BP‐HZN‐                E‐Mail ‐ From: Guide, John Sent: Thu       TO
               2179MDL00289217        Mar 18 11:33:43 2010 ‐ Subject: RE:
                                      Hazard Recognition
TREX‐00738     BP‐HZN‐MBI00128708‐BP‐ Email from Jesse Gagliano to BP            HESI
               HZN‐                   Engineers and Rig Personnel on
               MBI00128756            04/19/2010 Re: Updated Info for Prod
                                      Casing Job
TREX‐00747     HAL_0125467‐           Halliburton Lab Results‐ Primary           HESI
               HAL_0125468 and        Request/Slurry: 73909/2
               HAL_0044651‐
               HAL_0044652
TREX‐00748     HAL_0010868‐           Halliburton Lab Results‐ Primary           HESI
               HAL_0010870            Request/Slurry: 73909/1
TREX‐00810     HAL_0506909‐           Cement Lab Weigh‐Up Sheet, Mar 7,          HESI
               HAL_0506910            2010‐ Req/Slurry: US‐
                                      68156/1
TREX‐00811     HAL_0502393‐           Cement Lab Weigh‐Up Sheet, Apr 16,         HESI
               HAL_0502394            2010‐ Req/Slurry: US‐
                                      73909/2
TREX‐00816     BP‐HZN‐BLY00061275‐BP‐ Handwritten Notes: Interview of Jesse      HESI          Can be used as
               HZN‐                   Gagliano by BP                                           admission against
               BLY00061280                                                                     Halliburton, but
                                                                                               otherwise hearsay (FRE
                                                                                               802).



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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION         DEFENDANT            BP Objection         Other Comments
                                                                                    LIST
TREX‐00818     BP‐HZN‐                    Email from Erick Cunningham to Morel HESI
               2179MDL00282745‐BP‐        on 03/08/2010 Re: Nitrogen
               HZN‐                       Production Job
               2179MDL00282746
TREX‐00870                            United States Department of Labor          BP PARTIES    Relevance as to other
                                      News Release ‐ US                                        incidents (FRE 401 &
                                      Department of Labors OSHA issues                         402); Prejudicial (FRE
                                      record breaking fines to BP                              403).
TREX‐00923     TRN‐USCG‐MMS‐00038609 RIG CONDITION ASSESSMENT ‐                  TO
               ‐ TRN‐                 DEEPWATER HORIZON
               USCG‐MMS‐              (Prepared for Transocean USA, Inc.,
               00038695 TRN‐          Houston, Texas)
               MDL‐00038591‐ TRN‐MDL‐
               00038677

TREX‐00925     TRN‐USCG‐MMS‐00032700 Transocean ‐ COMPANY MANGEMENT TO
               ‐ TRN‐                  SYSTEM
               USCG‐MMS‐
               00033035 TRN‐
               MDL‐00032700 ‐ TRN‐MDL‐
               00033035

TREX‐00926     TRN‐USCG‐MMS‐00043222 Transocean ‐ OPERATIONS ADVISORY ‐ TO
               ‐ TRN‐                  LOSS OF WELL
               USCG‐MMS‐               CONTROL UPPER COMPLETION
               00043225 TRN‐
               MDL‐00273897 ‐ TRN‐MDL‐
               00273900

TREX‐00929     TRN‐HCEC‐00090493 ‐ TRN‐ Consulting Services ‐ Lloyd's Register   TO
               HCEC‐                    EMEA ‐ Aberdeen
               00090685 TDD006‐         Energy
               000505 ‐ TDD006‐000697



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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                    LIST
TREX‐00932     TRN‐MDL‐00291896 ‐ TRN‐ Lloyd's Register Safety Management ‐      TO
               MDL‐                    System and Safety Culture/Climate ‐
               00291907                Reviews: Deepwater Horizon
TREX‐00939     TRN‐USCG‐MMS‐00033216 Transocean ‐ ISM / ISPS MODU              TO
               ‐ TRN‐                  HANDBOOK (Revision Date:
               USCG‐MMS‐               December 19, 2008)
               00033281 TRN‐MDL‐
               00033216 ‐ TRN‐MDL‐
               00033281
TREX‐00986                             Chief Counsel's Report_2011: National BP PARTIES        Hearsay (FRE 802).
                                       Commission on the BP Deepwater
                                       Horizon Oil Spill and Offshore Drilling

TREX‐00987     BP‐HZN‐                   Email from Brian Morel to Guide on      HESI                                  Incomplete (FRE
                 79M 003 5 48
               2179MDL00315248           04/17/2010
                                         04/ 7/ 0 0 Re: FW: Lab
                                                             ab tests                                                    06); please
                                                                                                                       106);
                                                                                                                       substitute
                                                                                                                       highlighted version.
TREX‐00989     HAL_0116541‐             Halliburton US Land‐Offshore           HESI
               HAL_0116892              Cementing Work Methods
TREX‐01045     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent: Tue BP PARTIES
               2179MDL00895056 ‐ BP‐ Apr 06 15:26:40 2010 ‐ Subject: RE:
               HZN‐2179MDL00895060 Good morning!
TREX‐01046     BP‐HZN‐MBI00071986 ‐ BP‐ GoM Exploration and Appraisal          BP PARTIES
               HZN‐                     Communication Plan (September 2009,
               MBI00072008              Rev. 2)
TREX‐01047     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent:     BP PARTIES
               2179MDL00884526 ‐ BP‐ Wed Oct 14 20:17:39 2009 ‐ Subject:
               HZN‐2179MDL00884527 FW: Alex Voltaire
TREX‐01051     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent: Thu BP PARTIES
               2179MDL00884296          Oct 29 15:20:26 2009 ‐ Subject: RE:
                                        Macondo
TREX‐01053     BP‐HZN‐MBI00099622 ‐ BP‐ bp ‐ MC 252 #1 (Macondo): 18 1/8" x BP PARTIES
               HZN‐                     22" hole‐section
               MBI00099632              review (18" CSG section)


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                                                                                   LIST
TREX‐01057     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent: Sat BP PARTIES
               2179MDL00270472          Feb 13 17:53:47 2010 ‐ Subject: RE:
                                        Macondo LOT #4
TREX‐01070     BP‐HZN‐                  E‐Mail ‐ From: Bellow, Jonathan M      BP PARTIES Gord Bennett e‐mail is
               2179MDL00044180 ‐ BP‐    Sent: Mon Mar 15                                  hearsay (FRE 802) and
               HZN‐2179MDL00044182      14:29:57 2010 ‐ Subject: FW: Some                 PSC has not laid a
                                        Thoughts and Help                                 business records
                                        Requested, PP detection, Macando                  foundation;to the
                                                                                          extent covered by the
                                                                                          Boots & Coots order
                                                                                          (Doc. 3346), BP
                                                                                          preserves its objections

TREX‐01072     BP‐HZN‐                  E‐Mail ‐ From: Bellow, Jonathan M       BP PARTIES    Stuart Lacy e‐mail is
               2179MDL00032990 BP
               2179MDL00032990‐ BP‐     Sent: Mon Mar 15                                      hearsay (FRE 802) and
               HZN‐2179MDL00032991      14:30:20 2010 ‐ Subject: FW: Some                     PSC has not laid a
                                        Thoughts and Help                                     business records
                                        Requested, PP detection, Macando                      foundation; to the
                                                                                              extent covered by the
                                                                                              Boots & Coots order,
                                                                                              BP preserves its
                                                                                              objections
TREX‐01074     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent: Tue BP PARTIES
               2179MDL00006076 ‐ BP‐    Mar 16 19:13:30 2010 ‐ Subject: For
               HZN‐2179MDL00006078      your review...
TREX‐01076     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent: Thu BP PARTIES                             Missing attachments;
               2179MDL00015694 ‐ BP‐    Mar 18 16:13:49 2010 ‐ Subject: FW:                                           please substitute.
               HZN‐2179MDL00015695      Lessons learned ‐ plan forward:
                                        Macondo




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                                                                                    LIST
TREX‐01078     BP‐HZN‐                   E‐Mail ‐ From: Bodek, Robert Sent: Thu BP PARTIES Gord Bennett e‐mail is
               2179MDL00021267 ‐ BP‐     Mar 18 18:49:07 2010 ‐ Subject: RE:               hearsay (FRE 802) and
               HZN‐2179MDL00021268       Lessons learned ‐ plan forward:                   PSC has not laid
                                         Macondo                                           foundation for business
                                                                                           records exception; to
                                                                                           the extent covered by
                                                                                           the Boots & Coots
                                                                                           order (Doc. 3346), BP
                                                                                           preserves its objections


TREX‐01080     BP‐HZN‐                   E‐Mail ‐ From: Bodek, Robert Sent: Fri   BP PARTIES
               2179MDL00022579 ‐ BP‐     Mar 19 03:08:07 2010 ‐ Subject: RE:
               HZN‐2179MDL00022580       Macondo Update 8pm
TREX‐01084
TR X 0 084     BP‐HZN‐
                PH N                     E‐Mail
                                           Mail ‐ From: Bodek,
                                                         odek, Robert Sent:       BP
                                                                                   P PARTIES
                                                                                     PARTI S   Hearsay within hearsay
               2179MDL00890037           Wed Mar 24 23:12:11 2010 ‐ Subject:                   as to MI statement (FRE
                                         Macondo LCM                                           802), inadmissible
                                                                                               against MI but
                                                                                               otherwise hearsay

TREX‐01087     BP‐HZN‐                  E‐Mail ‐ From: Bodek, Robert Sent: Sat BP PARTIES
               2179MDL00011147 ‐ BP‐ Mar 27 02:30:19 2010 ‐ Subject: RE:
               HZN‐2179MDL00011149 Kira Tushman ‐ Macondo ops visit
TREX‐01124     BP‐HZN‐                  Confidential Chart (Chain of Command) BP PARTIES
               2179MDL00281872 & BP‐
               HZN‐2179MDL00281870
TREX‐01126     BP‐HZN‐                  E‐Mail ‐ From: Sims, David C Sent: Sun BP PARTIES
               2179MDL00286815 ‐ BP‐ Mar 14 04:53:00 2010 ‐ Subject: RE:
               HZN‐2179MDL00286816 call
TREX‐01127     BP‐HZN‐MBI00222540 ‐ BP‐ E‐Mail ‐ To: Guide Subject: RE: call   BP PARTIES
               HZN‐
               MBI00222541




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                                                                                     LIST
TREX‐01136     BP‐HZN‐                   E‐Mail ‐ From: Paine, Kate (QuaDril     BP PARTIES Kate Paine e‐mail is
               2179MDL00025882 ‐ BP‐     Energy LT) Sent: Fri Mar 19 01:44:47               hearsay (FRE 802) and
               HZN‐2179MDL00025884       2010 ‐ Subject: RE: Lesson Learned ‐               PSC has not laid
                                         Plan                                               foundation for business
                                         Forward: Macondo                                   records exception; to
                                                                                            the extent covered by
                                                                                            the Boots & Coots
                                                                                            order (Doc. 3346), BP
                                                                                            preserves its objections


TREX‐01140     BP‐HZN‐MBI00109949      E‐Mail ‐ From: Cocales, Brett W Sent: BP PARTIES
                                       Thu Mar 1115:41:40
                                       2010 ‐ Subject: RE:
TREX‐01154
TR X 0 54      BP‐HZN‐MBI00021304
                P H N M I000 304 ‐ BP‐
                                    P Transcription of Brian
                                                         rian Morel interview BP
                                                                               P PARTIES
                                                                                 PARTI S       Combines separate         Contains highlighting
               HZN‐                    notes ‐ commenced                                       documents that are not apparently by
               MBI00021343             1040 hrs 27‐Apr 2010                                    attachments; PSC has attorney; combines
                                                                                               indicated it will fix and documents from
                                                                                               will re‐provide for       separate families.
                                                                                               further revaluation
TREX‐01158     BP‐HZN‐MBI00038925 ‐ BP‐ E‐Mail ‐ From: Coltrin, George Sent:    TO             Wild Well Control e‐
               HZN‐                     Mon Oct 01 13:34:33 2007 ‐ Subject:                    mail is hearsay (FRE
               MBI00038931              Updated : Risk Assessment ‐ use of                     802); to the extent
                                        Annular on place of VBR in subsea stack                covered by the Boots &
                                        ‐ DW Horizon                                           Coots order (Doc.
                                                                                               3346), BP preserves its
                                                                                               objections
TREX‐01170     CAM_DOI 000000259 ‐       Cameron EB 902 D ‐ Cameron Well         CAM
               CAM_DOI                   Control Equipment ‐
               000000263                 Periodic Inspection / Recertification




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                                                                                   LIST
TREX‐01178     TRN‐USCG‐MMS‐            Amended Response to June 25, 2010       TO        Can be used as
               00039812                 Subpoena                                          admission against
               TRN‐MDL‐00039662                                                           Transocean, but
                                                                                          otherwise hearsay (FRE
                                                                                          802)
TREX‐01182     TRN‐MDL‐00501869 ‐ TRN‐ E‐Mail ‐ From: Stringfellow, William     TO        Top line of e‐mail can
               MDL‐                    (Houston) Sent: Thursday, September                be used as admission
               00501871                02, 201011:55 AM ‐ Subject: N‐Line                 against Transocean, but
                                       Tensioners                                         otherwise hearsay (FRE
                                                                                          802); PSC has stated
                                                                                          that it will redact top
                                                                                          line of e‐mail to fix
                                                                                          problem.
TREX‐01193                              Rig move Work List February 2010        TO                                PSC to provide bates
                                                                                                                  labeled version for
                                                                                                                  further evaluation.

TREX‐01243                              Macondo Prospect Offshore               ANADARKO Not signed version of
                                        Deepwater Operating Agreement and                the JOA; Incomplete
                                        exhibits, effective 10/01/2009, joinder          and missing pages; PSC
                                        signed 12/17/2009                                to fix problem by
                                                                                         providing signed
                                                                                         version.
TREX‐01269     HAL_0509770‐             Email from Danny Nicolini to            HESI
               HAL_0509772              Employees on 06/17/2010 Re: Well
                                        Control




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                                                                                      LIST
TREX‐01351     TRN‐MDL‐00406377 ‐ TRN‐ List of Issues                             BP PARTIES Contains hearsay within Apparently attorney
               MDL‐                                                                          hearsay insofar as it   highlighting; please
               00406380                                                                      quotes statements by provide non‐
                                                                                             TO employees (FRE       highlighted version.
                                                                                             802) ‐ these are
                                                                                             admissible against TO
                                                                                             by otherwise they are
                                                                                             hearsay within hearsay


TREX‐01352     CAM‐DOI 000000259 ‐      Cameron EB 886 D ‐ Preventive             CAM
               CAM‐DOI                  Maintenance of Cameron
               000000250                Blowout Preventers.
TREX‐01367     BP‐HZN‐MBI00128383 ‐ BP‐ E‐Mail ‐ From: Cocales, Brett W Sent:     BP PARTIES
               HZN‐
               HZN                      Fri Apr 16 21:14:54 2010 ‐ Subject: RE:
               MBI00128385              Macondo STK geodetic
               BPD107_216784‐
               BPD107_216786
TREX‐01395     BP‐HZN‐MBI00128702       Email from Brian Morel to Gagliano on     HESI
                                        04/18/2010 Re: Retarder
                                        concentration
TREX‐01404     BP‐HZN‐                  E‐Mail ‐ From: Bellow, Jonathan M         TO           Gord Bennett e‐mail is
               2179MDL00044180 ‐ BP‐ Sent: Mon Mar 15                                          hearsay (FRE 802) and
               HZN‐2179MDL00044182 14:29:57 2010 ‐ Subject: FW: Some                           PSC has not laid
                                        Thoughts and Help                                      foundation for business
                                        Requested, PP detection, Macando                       records exception; to
                                                                                               the extent covered by
                                                                                               the Boots & Coots
                                                                                               order (Doc. 3346), BP
                                                                                               preserves its objections




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                                                                                    LIST
TREX‐01425     BP‐HZN‐MBI00191720 ‐ BP‐ Daily Operations Report ‐ Partners       TO
               HZN‐                     (Completion)
               MBI00191726              {04/19/2010}
TREX‐01426     TRN‐MDL‐00466859 ‐ TRN‐ Daily Drilling Report (dated 20‐Apr‐      TO
               MDL‐                     2010)
               00466863
TREX‐01441     TRN‐MDL‐00481481‐ TRN‐ Transocean ‐ Deepwater Horizon BOP         TO
               MDL‐                     Test Rams, February 9, 2010 ‐ NAM
               00481488                 LEVEL II INVESTIGATION REPORT

TREX‐01523     TRN‐USCG_MMS‐           Transocean ‐ WELL OPERATIONS               TO
               00042595 ‐ TRN‐         GROUP ADVISORY
               USCG_MMS‐
               00042596
               TRN‐MDL‐00273270
               TRN MDL 00273270 ‐ TRN
                                  TRN‐
               MDL‐
               00273271
TREX‐01525     TRN‐USCG_MMS‐           711 Well Control Incident                  TO
               00042597 ‐ TRN‐
               USCG_MMS‐
               00042605
               TRN‐MDL‐00273272 ‐ TRN‐
               MDL‐
               00273280
TREX‐01594                             Emails between Paul Chandler and           ANADARKO
                                       Forrest Burton re: missing Macondo
                                       logs, “gotta love working with BP”
TREX‐01595                             Email from Paul Chandler to Tim            ANADARKO
                                       Trautman, Stuart Strife, Alan
                                       O’Donnell, Forrest Burton, Bert
                                       Allbritton and Derek Folger re: missing
                                       Macondo reports since April 15, still
                                       don’t know if last casing string run, etc.



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                                                                                  LIST
TREX‐01598                              Email from Nick Huch to Robert Bodek ANADARKO
                                        and Paul Chandler forwarding
                                        Anadarko’s data requirements for
                                        Macondo
TREX‐01601     HAL_0001532‐             Email from Joseph Keith to Navarette HESI      Statement at bottom
               HAL_0001533              on 02/12/2010 Re: INSITE PROBLEMS!             quoting Chris Wilson
                                                                                       may be used as an
                                                                                       admission against
                                                                                       Halliburton, but
                                                                                       otherwise contains
                                                                                       hearsay within hearsay
                                                                                       (FRE 802)
TREX‐01689     BP‐HZN‐                  Email from Brett Cocales to Walz,    HESI                             Contains attorney
               2179MDL00081650‐BP‐      Morel, and Hafle on 04/17/2010 Re:                                    handwriting; please
               HZN‐
               HZN                      Cement Procedure                                                      substitute.
               2179MDL00081652
TREX‐01703     HAL_0046635‐             Halliburton Foam Cementing              HESI
               HAL_0046728              Operations Manual
TREX‐01734     BP‐HZN‐                  GP 48‐50 ‐ Major Accident Risk (MAR)    BP PARTIES
               2179MDL00407937 ‐ BP‐    Process: Group
               HZN‐2179MDL00408004      Practice ‐ BP Group Engineering
                                        Technical Practices
TREX‐01741     BP‐HZN‐                  Macondo Project Risk Register           BP PARTIES                            Incomplete; excerpt
               2179MDL00412928                                                                                        from a larger
                                                                                                                      document (FRE 106);
                                                                                                                      please substitute.

TREX‐01742     BP‐HZN‐                  GDP 4.4‐0002 Incident Investigation     BP PARTIES                            Contains attorney
               2179MDL00205082 ‐ BP‐    (14 October 2009)                                                             highlighting; please
               HZN‐2179MDL00205105                                                                                    substitute
TREX‐01761                              Shell's Incident Investigation of the   TO
                                        Sedco 711




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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                LIST
TREX‐01902                           Email from Paul Chandler to Robert      ANADARKO                              Incomplete, excerpt
                                     Bodek re: missing wireline data                                               from a larger
                                                                                                                   document (FRE 106),
                                                                                                                   please substitute.

TREX‐01908                           Email from Derek Folger to Paul          ANADARKO
                                     Chandler, Tim Trautman, Robert
                                     Quitzau and Forrest Burton re:
                                     Macondo Update, “looks like we’re
                                     back to drilling. I never heard what the
                                     issue was earlier.”
TREX‐01914                           Emails between Robert Strickling and ANADARKO
                                     Dawn Peyton re: Value of Interest in
                                     Blacktail, Silverton & Mauna Kea
                                     (attaching Macondo Prospect
                                     presentation, October 15, 2009)

TREX‐01916                           Email from Richard Hedley to Stuart     ANADARKO
                                     Strife, Shandell Szabo, Brad Berg, Jim
                                     Bryan, Tim Trautman re: “uneasy” that
                                     BP does not have AFE ready to send
                                     out
TREX‐01917                           Emails between Alan O’Donnell, Paul ANADARKO Statements by
                                     Chandler, Dawn Peyton and Glenn                  Transocean at bottom
                                     Raney re: “bummer” that BP didn’t                of e‐mail chain ("I
                                     disclose extent of Marianas damage.              talked to TO today . . .")
                                                                                      are hearsay within
                                                                                      hearsay; admissible
                                                                                      only as admissions
                                                                                      against Transocean
TREX‐01919                           August 29, 2009 Authorization for       ANADARKO
                                     Expenditure (signed by Stuart Strife on
                                     12/17/2009)



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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION            DEFENDANT         BP Objection          Other Comments
                                                                                 LIST
TREX‐01920                           Email from Robert Quitzau to Alan        ANADARKO
                                     O’Donnell forwarding email between
                                     Robert Quitzau, Derek Folger, Paul
                                     Chandler, John Kamm and Mike Pfister
                                     re: question about 12.58 ppg
TREX‐01920                           Letter to Michael Bierne, from Nicholas ANADARKO
                                     G. Huch enclosing executed version of
                                     January 27, 2010 Supplemental AFE
                                     (signed by Stuart Strife)

TREX‐01921                           Letter to Michael Beirne from Nicholas ANADARKO
                                     G. Huch re: Second Supplemental AFE
                                     (attaching executed March 22, 2010
                                     Supplemental AFE)

TREX‐01922                           Letter from Nicholas G. Huch to Aimee ANADARKO
                                     Patel attaching executed 04/04/2010
                                     production casing AFE (signed by Alan
                                     O’Donnell)
TREX‐01923                           Email from Ben Manoochehri to Bert    ANADARKO                                 Incomplete (FRE
                                     Allbritton forwarding updated                                                  106); missing
                                     Macondo economics                                                              attachments; please
                                                                                                                    subsitute highlighted
                                                                                                                    version.
TREX‐01926                           Macondo Post Drill Analysis (Utilizing   ANADARKO
                                     BP Amplitude Extraction)
TREX‐01928                           Email from Alan O’Donnell to Darrell     ANADARKO Statements by
                                     Hollek re: concern of cost impact of              Transocean at bottom
                                     Marianas damage                                   of e‐mail chain ("I
                                                                                       talked to TO today . . .")
                                                                                       are hearsay within
                                                                                       hearsay ‐ admissible
                                                                                       only as admissions
                                                                                       against Transocean


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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION           DEFENDANT          BP Objection            Other Comments
                                                                                LIST
TREX‐01941                           Emails between Alan O’Donnell, Jim      ANADARKO
                                     Bryan, Todd Durkee, Darrell Hollek and
                                     Stuart Strife re: BP's Macondo (MC
                                     252)
                                     Well Cost Update (post‐Marianas
                                     damage)
TREX‐01942                           Lease Exchange Agreement between ANADARKO
                                     BP, Anadarko Petroleum Corp., and
                                     Anadarko E&P Company, effective
                                     10/01/2009, signed 12/17/2009

TREX‐01943                           Macondo Prospect Well Participation ANADARKO
                                     Agreement between BP Exploration
                                     and Production, Inc., Anadarko
                                     Petroleum
                                     Corp., and Kerr‐McGee Oil & Gas Corp.,
                                     effective
                                     10/01/2009, signed 12/17/2009
TREX‐01944                           MMS submissions: Forms 150, 1123,      ANADARKO
                                     and 1017 (Assignment of Record Title
                                     Interest, Designation of Operator,
                                     Designation of Applicant)
TREX‐01947                           Emails between Stuart Strife, Jim      ANADARKO       Statements by
                                     Bryan, Darrell Hollek, Todd Durkee,                   Transocean at bottom
                                     Alan O’Donnell, Allen Sanders, Richard                of e‐mail chain ("I
                                     Hedley, Nick Huch, Ben Manoochehri,                   talked to TO today . . .")
                                     Hank Wood and Barbara Dunbar re:                      are hearsay within
                                     cost impact of Marianas damage,                       hearsay ‐ admissible
                                     nondisclosure was “a real concern” to                 only as admissions
                                     Hollek                                                against Transocean




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TRIAL EX NO.         BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                    LIST
TREX‐01951     BP‐HZN‐                  E‐Mail ‐ From: Guide, John Sent: Wed    BP PARTIES
               2179MDL00353304 ‐ BP‐    Oct 07 11:40:19 2009 ‐ Subject: FW:
               HZN‐                     Deepwater Horizon Rig Audit
               2179MDL00353305
               BPD008_013659 ‐
               BPD008_0136560
TREX‐01966     BP‐HZN‐                  E‐Mail ‐ From: O'Bryan, Patrick L Sent: BP PARTIES    Combines several
               2179MDL00321874          Tue Apr 2719:39:27 2010 ‐ Subject: RE:                unattached documents
               BP‐HZN‐MBI               Bladder effect                                        into an exhibit;
               00021237 ‐ BP‐HZN‐MBI                                                          quotations from non‐BP
               00021282                                                                       employees are
                                                                                              admissions as to
                                                                                              Transocean, etc. (e.g.,
                                                                                              statement attributed to
                                                                                              Jason on page 21264
                                                                                              and 21276 and Joe and
                                                                                              Lance on 21265 and
                                                                                              21266), but otherwise
                                                                                              these particular
                                                                                              statements are hearsay
                                                                                              within hearsay (FRE
                                                                                              802)


TREX‐01987     BP‐HZN‐2179MDL0685285 ‐ Wellbore Positive and Negative           BP PARTIES
               BP‐HZN‐                 Pressure Testing Interim Guidance
               2179MDL00685286

TREX‐02003     HAL_0048470‐             Email from Mark Traylor to Probert, HESI
               HAL_0048471              Bement, and Lewis on 01/19/2010 Re:
                                        BP Performance Guarantee




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TRIAL EX NO.         BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection          Other Comments
                                                                                     LIST
TREX‐02004     HAL_0048472‐           Email from Jim Grier to Abernathy,        HESI                                    Incomplete (FRE
               HAL_0048473            Goster, Vaclavik, Klungtveit,                                                     106), excerpt from a
                                      Sutherland, and Bement on                                                         larger document,
                                      01/19/2010 Re: Contractual Side                                                   please substitute
                                      Agreements
TREX‐02009     BP‐HZN‐MBI00128542‐BP‐ Email from Brian Morel to Hafle on        HESI
               HZN‐                   04/17/2010 Re: FW: Lab tests
               MBI00128543
TREX‐02032     None                   MBI Testimony of Jesse Gagliano           HESI          Inadmissible by statute
                                                                                              (46 U.S.C. Sec. 6308(a)
                                                                                              and supporting
                                                                                              caselaw).
                                                                                              Hearsay (FRE 802).
TREX‐02033                              Telephone Interview of: Jesse Marc      BP PARTIES    Contains admissions
                                        Gagliano ‐ Friday, June 11,, 2010
                                                                      0 0                     against Halliburton,
                                                                                              otherwise hearsay (FRE
                                                                                              802)
TREX‐02034     HAL_0554765‐             Halliburton 9‐7/8" Design Report May HESI
               HAL_0554778              25, 2009
TREX‐02194                              E‐mail from Larry McMahan Dated May TO
                                        20th, 2009 to Mr. Nuttal, to Mr.
                                        Sannan, and to Bill Wainwright
TREX‐02195                              E‐mail to Executive Vice President of TO
                                        Performance, Rob Saltiel
TREX‐02198                              E‐mail Dated March 7, 2010 From Neil TO
                                        Clyne Subject 711 WC Incident
TREX‐02308                              Emails between Nick Huch and Michael ANADARKO
                                        Beirne re: Macondo Development Cost,
                                        need more detailed breakdown of total

TREX‐02314                              Email from Nick Huch, Michael Beirne, ANADARKO
                                        and Kemper Howe
                                        re: Anadarko wanting a rig / timing
                                        commitment at Macondo


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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection          Other Comments
                                                                                  LIST
TREX‐02316                             Email from Nick Huch to Ron Buehner     ANADARKO
                                       and Dawn Peyton re: including both
                                       APC and AE&P on Lease Exchange
                                       Agreement with BP
TREX‐02580     HAL_0010648‐            Email from Brian Morel to Gagliano,    HESI
               HAL_0010650             Hafle, Cocales, and Walz on
                                       04/15/2010 Re: OptiCem Report
TREX‐02636                             Email from Alan O’Donnell to Robert    ANADARKO
                                       Quitzau, Nick Huch, Tim Trautman, Paul
                                       Chandler, Forrest Burton, Bert
                                       Allbritton, and Dawn Peyton re:
                                       Macondo TD & Draft Sub. Op. AFE, still
                                       don’t know whether BP is using
                                       liner/tieback or not
TREX‐02641                             Email from Mark E. Hafle to Robert     ANADARKO       Relevance ((FRE 401 &
                                       Quitzau, Todd Durkee, Mike Pfister,                   402), to the extent
                                       Steve Woelfel re: Quitzau’s post‐spill                outside the scope of
                                       questions to BP, including about burst                Phase I trial (e.g.,
                                       disks                                                 discussion of relief
                                                                                             wells); Prejudicial (FRE
                                                                                             403).
TREX‐02687                             Email from Darrell Hollek to Chuck    ANADARKO
                                       Meloy re: “good economics,” “odd BP
                                       is drilling a 60MM BOE prospect”
TREX‐02689                             Email between Darrell Hollek and Mike ANADARKO
                                       Beattie re: Macondo subsea
                                       development cost




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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION         DEFENDANT      BP Objection               Other Comments
                                                                                LIST
TREX‐02691                             Emails between Darrell Hollek and Ben ANADARKO Statements by
                                       Manoochehri re: cost impact of                  Transocean at bottom
                                       Marianas damage                                 of e‐mail chain ("I
                                                                                       talked to TO today . . .")
                                                                                       are hearsay within
                                                                                       hearsay ‐ admissions
                                                                                       against Transocean but
                                                                                       otherwise this is
                                                                                       hearsay within hearsay.

TREX‐02692                             Email and attachments from Dawn         ANADARKO
                                       Peyton to Darrell Hollek
                                       and Stuart Strife re: Macondo
                                       Economics (pre‐ and post‐RCT review)

TREX‐02693                             Emails between Pat Watson, Todd         ANADARKO
                                       Durkee, David Bump, Nick Huch and
                                       Darrell Hollek re: Pat Watson doing due
                                       diligence on cost impact of Marianas
                                       damage
TREX‐02697                             Emails between Bert Allbritton and      ANADARKO
                                       Dawn Peyton attaching corrected
                                       Macondo economics
TREX‐02731     BP‐HZN‐BLY00116215      Email from Kent Corser to Winters,      HESI
                                       Sabins, and Watters on 05/07/2010 Re:
                                       Cement testing for well
TREX‐02827                             Emails between Michael Beirne and       ANADARKO
                                       Mark E. Hafle re: APC request for more
                                       detailed cost breakdown, “it is not
                                       customary to give them much detail”




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TRIAL EX NO.         BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                   LIST
TREX‐02855                              Email from Michael Beirne to Bryan      ANADARKO
                                        Ritchie, Charles H. Bondurant, John
                                        Guide, Mark E. Hafle, Robert Bodek,
                                        Brian P. Morel, Kemper Howe, Brett W.
                                        Cocales, Gregory S. Watz, Jonathan M.
                                        Bellow, Aimee Patel, and Doris Reiter
                                        re: Macondo JOA Obligations

TREX‐02900     BP‐HZN‐CEC055017‐ BP‐    E‐Mail ‐ From: Lacy, Kevin Sent: Wed     BP PARTIES
               HZN‐                     Nov 28 03:42:08 2007 ‐
               CEC055034                Subject: Your copy of Monday's File
TREX‐02901     BP‐HZN‐CEC055272 ‐ BP‐   E‐Mail ‐ From: Lacy, Kevin Sent: Fri Dec BP PARTIES
               HZN‐                     14 20:45:56 2007 ‐
               CEC055296                Subject: Package for discussion
TREX‐02907
TR X 0 907     BP‐HZN‐CEC078875
                P H N C C078875 ‐ BP‐
                                   P    E‐Mail
                                          Mail ‐ From: Lacy,
                                                        acy, Kevin Sent: Mon     BP
                                                                                  P PARTIES
                                                                                    PARTI S
               HZN‐                     Oct 1219:13:32 2009 ‐
               CEC078901                Subject: Pre Read for HSSE QPR ‐
                                        Tuesday, October 13
TREX‐02908     BP‐HZN‐                  GulfofMexicoSPU ‐ Operating Plan         BP PARTIES
               2179MDL00333155 ‐ BP‐    (OMS Handbook)
               HZN‐2179MDL00333195
TREX‐02911     BP‐HZN‐                  E‐Mail ‐ From: Kraus, Malcolm D Sent: BP PARTIES
               2179MDL01554443          Wed Apr 0813:32:43 2009 ‐ Subject:
                                        Updated Risk Register
TREX‐02912     BP‐HZN‐CEC078761‐ BP‐    E‐Mail ‐ From: Ruehle, Steven A Sent: BP PARTIES
               HZN‐                     Thu Sep 2414:40:48 2009 ‐ Subject: RE:
               CEC078789                SPU Top Risk Mitigation Plans (Session
                                        2 of 2)
TREX‐02913     BP‐HZN‐BLY00151043       Risk Mitigation Plan                   BP PARTIES                             Incomplete (FRE
                                                                                                                      106), please
                                                                                                                      substitute complete
                                                                                                                      version




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                                                                                        LIST
TREX‐02914     BP‐HZN‐                    E‐Mail ‐ From: Eaton, Richard J Sent: Fri BP PARTIES
               2179MDL01443369 ‐ BP‐      Oct 09 23:11:49 2009 ‐ Subject: OpCo
               HZN‐2179MDL01443372        risk review
TREX‐02917     BP‐HZN‐IIT‐0001177 ‐ BP‐   Drilling and Well Operations Practice ‐ BP PARTIES
               HZN‐                       E&P Defined Operating Practice
               0001288
               BP‐HZN‐
               2179MDL00057261‐ BP‐
               HZN‐2179MDL00057372
TREX‐02918     BP‐HZN‐                    E‐Mail ‐ From: Lacy, Kevin Sent: Thu    BP PARTIES
               2179MDL01808592            Oct 0115:28:47 2009 ‐ Subject: Safety
                                          Leadership
TREX‐02919     BP‐HZN‐                    bp ‐ Process Safety Planning 2010, 12   BP PARTIES
               2179MDL01109076 ‐ BP‐      Jan 2010
               HZN‐2179MDL01109092
               HZN 2179MDL01109092
TREX‐02929     BP‐HZN‐                E‐Mail ‐ From: Lenhoff, Diane A Sent: BP PARTIES
               2179MDL00352448 ‐ BP‐  Mon Nov 09 21:24:19 2009 ‐ Subject:
               HZN‐2179MDL00352460    RE: November D&C ELT Meeting ‐
                                      Agenda
TREX‐02934     BP‐HZN‐                E‐Mail ‐ From: Lacy, Kevin Sent: Tue Jul BP PARTIES
               2179MDL00107264 ‐ BP‐ 15 14:48:50 2008 ‐
               HZN‐2179MDL00107268 Subject: RE: Kaskida Bold Move Way
                                      Forward
TREX‐02964     BP‐HZN‐BLY00131138‐BP‐ Email from David Brown to Winters on HESI
               HZN‐                   05/24/2010 Re: CSI Report Draft
               BLY00131139
TREX‐02968     BP‐HZN‐BLY0004843‐BP‐ CSI Analysis of Cementing Operation on HESI
               HZN‐                   the Deepwater Horizon and Possible
               BLY00048477            Contributing Factors to Loss of Well
                                      Control




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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                  LIST
TREX‐02991                             Letter from Kemper Howe to MOEX         ANADARKO
                                       Offshore 2007 LLC, Anadarko E&P
                                       Company, LP and Anadarko Petroleum
                                       Corp. re: Temporary Abandonment
                                       (signed on to by Alan O’Donnell on
                                       04/20/2010)
TREX‐03092     HAL_0575126‐            Email from George Fuller to Faul on HESI              Can be used as
               HAL_0575133             07/23/2010 Re: FW: Centralization                     admission against
                                                                                             Halliburton, but
                                                                                             otherwise hearsay (FRE
                                                                                             802).
TREX‐03104     BP‐HZN‐                 Email from Erick Cunningham to          HESI
               2179MDL02233168‐BP‐     Kellingray on 06/09/2009 Re:
               HZN‐                    Displacement Modelling
               2179MDL02233170
TREX‐03112     HAL_0576891             Email from Christopher Haire to Tabler HESI           Can be used as
                                       on 06/10/2010 Re: tests                               admission against
                                                                                             Halliburton, but
                                                                                             otherwise hearsay and
                                                                                             hearsay within hearsay
                                                                                             ("I read some report…")
                                                                                             (FRE 802).
TREX‐03174                             West Engineering Services Shear Ram     BP PARTIES
                                       Capabilities Study for
                                       U.S. Minerals Management Service,
                                       Requisition No. 3‐4025‐
                                       1001, September 2004; 71 pages




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                                                                                    LIST
TREX‐03181     CAM_CIV_0077711          Email ‐ From: Van Lue, Jason To:         CAM                                  This appears to be
                                        Stringfellow, William;                                                        Dep. Exh. 3180 based
                                        White, Robert; Wright, Lawrence; King,                                        on the PSC's
                                        Don; McWhorter, David; Whitby, Mel;                                           description.
                                        Carter, Erwin; Coronado, Richard;
                                        Cooper, Nathan; Kennedy, Mac ‐
                                        Discussion of the tests that were
                                        performed on the DWH BOP'

TREX‐03185     CAM_CIV_0098265 ‐        Cameron EB 702 D, Revision B9             CAM
               CAM_CIV_0098274          "Shearing Capabilities of
                                        Cameron Shear Rams ‐ "developed to
                                        assist Cameron
                                        equipment users in defining the
                                        shearing requirements for drilling
                                        operations." Includes Product Advisory
                                        #12114 ‐ to "notify these users that this
                                        b
TREX‐03259     TRN‐MDL‐01120767         Transocean Recommended Practices          TO
               through TRN‐             Subsea ‐ Family 400
               MDL‐01120777             Subsea Maintenance Facility
TREX‐03287     Bates Nos. TRN‐MDL‐      E‐mail from Mark Hay to Kenneth           TO
               00119512                 dated November 21, 2009; Subject:
               through TRN‐MDL‐         MOC for lower ram
               00038745
TREX‐03291     Bates No. TRN‐MDL‐       Email from DWH, SubSeaSup to DWH,        TO
               00483932                 MaintSup dated March 17, 2010;
               through TRN‐MDL‐         Subject: BP Audit/Rig Move
               00483933
TREX‐03292     Bates No. TRN‐MDL‐       2011 Subsea equipment status in          TO
               00401409                 preparation for 2011 OSS dated
               through TRN‐MDL‐         4/6/2010
               00401412



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                                                                                  LIST
TREX‐03327     CAM_CIV_0015463           Cameron Engineering Report No. 3424 ‐ CAM
                                         BP Thuderhorse Shear Test Using 18‐
                                         15M DVS Rams on 6 5/8" x.70 Wall
                                         V150 pipe ‐ Dated: 02/12/2007

TREX‐03405     TRN‐MDL‐00478589 ‐ TRN‐ DEEPWATER HORIZON Follow‐up Rig         TO
               MDL‐                    Audit, Marine Assurance Audit and Out
               00478652                of Service Period September 2009, 64
                                       pages
TREX‐03419     TRN‐MDL‐00303083 ‐ TRN‐ E‐mail from James Kent sent Monday, TO
               MDL‐                    February 22, 2010, to
               00303084                James Kent, etc., Subject: RE: Tracking

TREX‐03420     TRN‐MDL‐00985307‐TRN‐     String of e‐mails among Buddy trahan,   TO
               M
               MDL‐                      James Kent, Paul
               00985309                  Johnson, et al.
TREX‐03423     TRN‐MDL 00985611          E‐mail from James Kent, sent            TO
                                         Wednesday, March 17, 2010,
                                         to DWH, Materials (Deepwater
                                         Horizon)
TREX‐03431     TRN‐MDL 00896797          Two‐page document from James Kent       TO
                                         to the subsea supervisor on the
                                         DEEPWATER HORIZON dated January
                                         28, 2010
TREX‐03468     TRN‐MDL‐00106236          Sworn Statement of Patrick Morgan       TO            Can be used as         Contains what is
               through TRN‐              dated 4/22/2010                                       admission against      apparently attorney
               MDL‐00106252                                                                    Transocean, but        highlighting.
                                                                                               otherwise hearsay (FRE
                                                                                               802). Also uncertified
                                                                                               transcript.




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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION          DEFENDANT           BP Objection         Other Comments
                                                                                 LIST
TREX‐03586     TRN‐MDL‐00396589        Feb 1‐2, 2010 E‐mail from Paul Johnson TO
                                       and DWH, RSTC
                                       (Deepwater Horizon), Subject:
                                       Emailing: DWH CMS Presentations. ppt
                                       with Attachments, marked as
                                       Confidential, 56 pages
TREX‐03602     CAM_CIV_0046703 ‐       Cameron Daily Report ‐ contains        CAM
               CAM_CIV_0046721         entries for dates 5/3/10 ‐ 5/30/10 ‐
                                       Simulated deadman test on solenoid
                                       #103 ‐
                                       Solenoid #103 did not fire.
TREX‐03603     CAM_CIV_0019820 ‐       Brochure / informational packet from CAM
               CAM_CIV_0019825         Cameron titled "Emergency, Backup
                                       Deepwater Safety Systems"
TREX‐03604     CAM_CIV_0019600 ‐       1999 ‐ 2000 Cameron Catalogg ‐         CAM
               CAM_CIV_0019611         Information on the parts and services
                                       available from Cameron in 1999 ‐ 2000
                                       (at the time
                                       the DWH BOP was being assembled)
TREX‐03605     CAM_CIV_0003275 ‐       Cameron EB 891 D ‐ AMF/Deadman         CAM
               CAM_CIV_0003276         Battery Replacement ‐
                                       September 8, 2004
TREX‐03609     CAM_CIV_0003233         Cameron EB 865 C ‐ Deadman/AMF         CAM
                                       System Surface Testing ‐
                                       December 10, 1999
TREX‐03611     CAM_CIV_0046820 ‐       Cameron Control Aftermarket Field      CAM
               CAM_CIV_0046823         Service Group ‐ Daily Report Sheet
                                       September 10, 2001‐ Provided
                                       instruction on how the EDS system
                                       should work ‐ Performed EDS test.
TREX‐03619     CAM_CIV_0151756 ‐       Cameron Controls Daily Report Sheet ‐ CAM
               CAM_CIV_0151762         Prepared by LeNormand ‐ 7/5/10
                                       perfored test on Blue Pod, Blue Pod
                                       failed to fire deadman.


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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION         DEFENDANT            BP Objection         Other Comments
                                                                                LIST
TREX‐03620     CAM_CIV_0151942‐        Cameron Controls ‐ Factory Acceptance CAM
               CAM_CIV_0151953         Test Procedure for Subsea Electronic
                                       Module (AMF Test Procedure) ‐ Doc.
                                       No.: Horizon AMF/Deadman Under
                                       current situation test ‐
                                       Revision 1

TREX‐03622     CAM_CIV_0018770 ‐       Cameron Controls Meeting Minutes ‐        CAM
               CAM_CIV_0018772         Progress Meeting ‐
                                       Topics of the meeting included Results
                                       from the Cameron shear tests being
                                       available by 8/6/99; LMRP bottle
                                       quantity; "piston type bottles can be
                                       used as long as we maintain a 50%
                                       reserve";; "in
                                       reserve     in an effor
TREX‐03629     CAM_CIV_0130486 ‐       Index ‐ "Transocean 1997 ‐ 2010           CAM
               CAM_CIV_0130512         Repairs ‐ Horizon Only"
TREX‐03640     CAM_CIV_0019538 ‐       Cameron Brochure and/or                   CAM
               CAM_CIV_0019572         presentation materials titled
                                       "Performance Through Leadership" ‐
                                       Provides information on both surface
                                       and subsea systems avail from
                                       Cameron
TREX‐03770     HAL_0576793‐            Email from Christopher Haire to           HESI
               HAL_0576795             Gagliano on 01/31/2010 Re: well to
                                       well
TREX‐03771     HAL_1067975‐            Email from Michael Serio to Langlinais,   HESI
               HAL_1067999             Quirk, and Dubois on 04/22/2009 Re:
                                       FW: Proposed Testig Protocol and Test
                                       Matrix




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TRIAL EX NO.         BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection          Other Comments
                                                                                     LIST
TREX‐03775     HAL_DOJ_0000035‐         Cement Lab Weigh‐Up Sheet, Apr 13,      HESI
               HAL_DOJ_0000043          2010‐ Req/Slurry: US‐
                                        73909/1 and Cement Lab Weigh‐Up
                                        Sheet, Apr 17, 2010
                                        Req/Slurry: US‐73909/1
TREX‐03793     TRN‐MDL‐00642011         Well Operations Group Advisory dated TO
                                        April 5, 2010, entitled Monitoring Well
                                        Control Integrity of Mechanical Barriers

TREX‐03814                              8‐18‐03 Major Incident Investigation    BP PARTIES    Relevance as to
                                        Report                                                Grangemouth, etc. (FRE
                                                                                              401 & 402); Prejudicial
                                                                                              (FRE 403).
TREX‐03820                              10‐25‐07 Press Release: BP America      BP PARTIES    Relevance as to Texas
                                        announces resolution                                  City, etc. (FRE
                                                                                                         (FR 401
                                                                                                              40 &
                                        of Texas City, Alaska, propane trading,               402); Prejudicial (FRE
                                        law enforcement investigations                        403).

TREX‐03823     BP‐HZN‐                1‐9‐08 Safety, Ethics & Environment       BP PARTIES    Relevance as to Alaska
               2179MDL02004462 to BP‐ Assurance Committee                                     pipelines and other
               HZN‐2179MDL02004465 Minutes                                                    incidents (FRE 401 &
                                                                                              402); Prejudicial (FRE
                                                                                              403).
TREX‐03824     BP‐HZN‐                1‐22‐08 Group Operations Risk             BP PARTIES    Relevance as to Texas
               2179MDL02212862 to BP‐ Committee Minutes                                       City and other incidents
               HZN‐2179MDL02212863                                                            (FRE 401 & 402);
                                                                                              Prejudicial (FRE 403).




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TRIAL EX NO.         BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT        BP Objection         Other Comments
                                                                                    LIST
TREX‐03861     BP‐HZN‐                   6‐7‐05 Baxter e‐mail to Mogford        BP PARTIES Relevance as to Texas Combination of
               2179MDL02289093 to BP‐                                                      City and other incidents separate documents;
               HZN‐2179MDL02289053,                                                        (FRE 401 & 402);         BP‐HZN‐
               BP‐HZN‐                                                                     Prejudicial (FRE 403); 2179MDL02212498
               2179MDL02310564, BP‐                                                        Incomplete (FRE 106). to BP‐HZN‐
               HZN‐                                                                                                 2179MDL02212501;
               2179MDL02212498 to BP‐                                                                               please separate.
               HZN‐
               2179MDL02212501
TREX‐03863     BP‐HZN‐                   9‐19‐05 Rogers e‐mail to Baxter,       BP PARTIES
               2179MDL02275198 to BP‐    Rajalingam
               HZN‐2179MDL02275204
TREX‐03864     BP‐HZN‐CEC083197 to BP‐   BP HSE & Operations Integrity Report, BP PARTIES     No objection subject to
               HZN‐                      4Q 2009 (Quarterly) data, with January               exclusion of discussion
               CEC083250                 2010 Commentary                                      of individual underlying
                                                                                              incidents due to lack of
                                                                                              relevance (FRE 401 &
                                                                                              402) and unfair
                                                                                              prejudice/confusion
                                                                                              (FRE 403).

TREX‐03866     BP‐HZN‐                5‐12‐10 Grounds e‐mail to Baxter          BP PARTIES    No objection subject to
               2179MDL02206786 to BP‐                                                         exclusion of discussion
               HZN‐2179MDL02206795                                                            of individual underlying
                                                                                              incidents due to lack of
                                                                                              relevance (FRE 401 &
                                                                                              402) and unfair
                                                                                              prejudice/confusion
                                                                                              (FRE 403).




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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                     LIST
TREX‐03868     BP‐HZN‐                 1‐16‐10 BP Gulf of Mexico SPU             BP PARTIES                            Incomplete (FRE
               2179MDL02206796 to BP‐                                                                                  106); contains two
               HZN‐2179MDL02206902                                                                                     documents that are
               with                                                                                                    not part of the same
               attachments and BP‐HZN‐                                                                                 family.
               02206909
TREX‐03984     TRN‐MDL‐01547876 ‐ 881 Transocean SedcoForex Equipment           TO
                                       Maintenance Standard, Ram Type BOP,
                                       Family 401, dated July 14, 2001
TREX‐04113     BP‐HZN‐                 Cameron Control Meeting Minutes ‐        CAM
               2179MDL00088241‐ BP‐    Topics include: number
               HZN‐2179MDL00088243 of accumulator bottles available for
                                       deadman system, position and location
                                       of "fail safe panels", and deadman
                                       sequence.
TREX‐04114     TRN‐HCJ‐00026742 ‐ TRN‐ Technical Positon Paper (Revision 5) by: CAM
               HCJ‐                    Mike Byrd on the issue of the EDS/DMS
               00026748                disconnect philosophy ‐ Discusses the
                                       "sequences, timing, and overall
                                       philosophy" for the EDS/Deadman
                                       system.
TREX‐04120     CAM_CIV_0019031‐        Risk Assessment of The Deepwater         CAM
               0019076                 Horizon Blowout
                                       Preventer (BOP) Control System ‐ April
                                       2000 ‐ Final Report
TREX‐04140     TRN‐INV‐01138417 ‐      RMS‐Gas Detection, marked as             TO
               38422                   Confidential
TREX‐04141     TRN‐MDL‐01545921        Transocean Request for Exemption,        TO
                                       marked as Confidential




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TRIAL EX NO.         BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                    LIST
TREX‐04227     BP‐HZN‐                  March 5, 2010 E‐mail string from        BP PARTIES
               2179MDL00321214          Johanna Hohle to James
                                        Dupree, Fergus Addison and others,
                                        from Fergus Addison to Johanna Hohle,
                                        James Dupree and others Subject: Mad
                                        Dog North well Keepervs Expendable,
                                        marked as Confidential

TREX‐04238                              2010 Performance Contract: Pat          BP PARTIES                            Please provide Bates
                                        O'Bryan, Gulf of Mexico VP D&C; one                                           labeled version for
                                        page                                                                          further evaluation;
                                                                                                                      this version is
                                                                                                                      unsigned, among
                                                                                                                      other issues.
TREX‐04244
TR X 04 44                              July 15,
                                               5, 2011
                                                   0 Letter
                                                       etter from James      BP
                                                                              P PARTIES
                                                                                PARTI S
                                        Dupree to Director Michael Bromwich,
                                        Re: Commitments to Promote Safe
                                        Drilling Operations in the Deepwater
                                        Gulf of Mexico; four pages

TREX‐04256                              Graph, Transocean's 10 Worst Kicks ‐ TO
                                        2009; one page
TREX‐04279     TRN‐MDL‐00303064         Feb 19 and 20, 2010 E‐mail from DWH, TO
                                        SubSeaSup
                                        (Deepwater Horizon) to James Kent,
                                        from James Kent to DWH, SubSeaSup
                                        (Deepwater Horizon), DWH, MaintSup
                                        (Deepwater Horizon) Subject: Slip Joint
                                        Repairs, marked as Confidential

TREX‐04309     TRN‐INV‐01262577 to TRN‐ Transocean SedcoForax Change            TO                                    Please substitute
               INV‐                     Proposal, 11‐21‐04                                                            complete copy.
               01262579



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TRIAL EX NO.          BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                      LIST
TREX‐04326     HAL_0607904               Power Point "Cementing PSL 2009         HESI
                                         Technology Plan"
TREX‐04357     HAL_1126190               Power Point "Observations" by Roth of HESI
                                         HESI deficiencies contributing to blow
                                         out
TREX‐04423     BP‐HZN‐                   E‐mail Michael Byrd to Curtis Jackson BP PARTIES
               2179MDL03106206 ‐ BP‐     and others, dated November 14, 2001
               HZN‐2179MDL03106207
TREX‐04447     BP‐HZN‐BLY00144208 ‐ BP‐ BP Incident Investigation Team ‐ Notes BP PARTIES      Contains hearsy within
               HZN‐                     of Interview with Mark Hafle, dated                    hearsay with respect to
               BLY00144214              July 8, 2010                                           comment by Kate
                                                                                               Payne "I can't get a
                                                                                               break on this well"
TREX‐04448                               Hafle, Mark‐Testimony before the        BP PARTIES     Inadmissible by
                                         Marine Board
                                                 oard of Investigation                         statute (46 U.S.C. Sec.
                                                                                               6308(a) and supporting
                                                                                               caselaw).

                                                                                               Hearsay (FRE 802).
TREX‐04456     BP‐HZN‐MBI00010575        MC 252#1‐ Macondo Production casing HESI
                                         and TA Forward
                                         Planning Decision Tree
TREX‐04477     BP‐HZN‐                   Contract for GoM Strategic              HESI
               2179MDL00055567‐BP‐       Performance Unit Offshore Well
               HZN‐                      Services Between BP Exploration and
               2179MDL00056112           Production, Inc. and Halliburton Energy
                                         Services, Inc.
TREX‐04479     BP‐HZN‐DHTF00310245       Email from Jonathan Bellow to Keith     HESI
                                         and Gray on 04/11/2010 Re: Help
                                         needed
TREX‐04572     None                      Letter and Report from Chevron to       HESI
                                         National Oil Spill Commission




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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                      LIST
TREX‐04576     CVX8031100000556‐         Handwritten Notes: BP Deepwater         HESI
               CVX80311                  Horizon Testing Commission Testing
               00000566
TREX‐04842     Beirute 30(b)(6) 05515‐   Beirute Power Point‐ "If Someone      HESI            Robert Beirute
               05523                     Were to Ask Me What Do I Need to Do                   statements are hearsay
                                         to Get a BAD Cement Job? This is What                 (FRE 802) and PSC has
                                         I would Tell Them                                     not laid foundation for
                                                                                               business records
                                                                                               exception;to the extent
                                                                                               covered by the Boots &
                                                                                               Coots order (Doc.
                                                                                               3346), BP preserves its
                                                                                               objections


TREX‐04846     BP‐HZN‐                   Email from Charles Taylor to Sauter,    HESI          Robert Beirute
               2179MDL02246879‐BP‐       Beirute, Rogers, and Kellingray on                    statements are hearsay
               HZN‐                      01/30/2009 Re: Development of a BP                    (FRE 802) and PSC has
               2179MDL02246887           GoM "Cementing" Scorecard                             not laid foundation for
                                                                                               business records
                                                                                               exception;to the extent
                                                                                               covered by the Boots &
                                                                                               Coots order (Doc.
                                                                                               3346), BP preserves its
                                                                                               objections




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                                                                                  LIST
TREX‐04852     BP‐HZN‐                  Email from Brian Morel to Beirute on HESI      Robert Beirute
               2179MDL00206864‐BP‐      07/20/2009 Re: FW: Macondo Cement              statements are hearsay
               HZN‐                     Design                                         (FRE 802) and PSC has
               2179MDL00206901                                                         not laid foundation for
                                                                                       business records
                                                                                       exception;to the extent
                                                                                       covered by the Boots &
                                                                                       Coots order (Doc.
                                                                                       3346), BP preserves its
                                                                                       objections


TREX‐04902     TRN‐INV‐00690288 ‐       E‐Mail Chain, Primary E‐Mail Dated       TO           Top E‐Mails were sent
               90290                    May 16, 2010, to Vicki Garza from Bill                in anticipation of
                                        Ambrose                                               litigation; it is
                                                                                              admissible as admission
                                                                                              against Transocean, but
                                                                                              otherwise hearsay (FRE
                                                                                              802); PSC has promised
                                                                                              to cure this by
                                                                                              providing redacted
                                                                                              version.

TREX‐04911     TRN‐MDL‐01851695         Transocean Document "Master/OIM          TO
                                        Relationship"; "Master's
                                        Responsibilities and Authority"
TREX‐04996                              Email to Alan O’Donnell from Dawn        ANADARKO Relevance (FRE 401 &
                                        Peyton estimating Macondo blowout                 402), outside the scope
                                        AOF flow rate at 45,000 BPD                       of the Phase I trial with
                                                                                          respect to
                                                                                          quantification issues;
                                                                                          Prejudicial (FRE 403).




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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION           DEFENDANT        BP Objection           Other Comments
                                                                                 LIST
TREX‐06000                           Tony Hayward Speech Transcription       BP PARTIES Relevance (FRE 401 &
                                     from Youtube.com, Entrepreneurial                  402), Prejudicial (FRE
                                     Spirit Needed; 58 pages                            403), Hearsay (FRE 802)
                                                                                        ‐ contains comments
                                                                                        that are not from
                                                                                        Hayward's speech, e.g.,
                                                                                        p. 56 remarks from
                                                                                        "Videohippy"; contains
                                                                                        statements by
                                                                                        individuals other than
                                                                                        Hayward (e.g.,
                                                                                        unidentified
                                                                                        "Gentleman" on pages
                                                                                        32‐34 and 30‐55 and
                                                                                        unidentified "Lady"
                                                                                                       Lady on
                                                                                        pages 36‐37




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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION        DEFENDANT        BP Objection              Other Comments
                                                                              LIST
TREX‐06001                           June 17, 2010 Verbatim Transcript,   BP PARTIES Questioners
                                     House of                                        established no
                                     Representatives, Committee on Energy            foundation or personal
                                     and Commerce, Subcommittee on                   knowledge for CEO to
                                     Oversight and Investigations,                   answer questions about
                                     Committee Hearing on the Deepwater              operations, etc.;
                                     Horizon Oil Spill; 102 pages                    Inadmissible under FRE
                                                                                     804 because of lack of
                                                                                     opportunity to
                                                                                     examine; Relevance
                                                                                     and prejudicial as to
                                                                                     portions that do not
                                                                                     relate to Phase I (FRE
                                                                                     401, 402, and 403);
                                                                                     Hearsay (FRE 802),
                                                                                                    802)
                                                                                     contains statements by
                                                                                     persons other than
                                                                                     Hayward such as
                                                                                     congressman and not
                                                                                     final version and does
                                                                                     not include errata
                                                                                     which were produced;
                                                                                     contains statements by
                                                                                     persons other than
                                                                                     Hayward

TREX‐06003                           Printout of 1 April 2005 speech by Tony BP PARTIES
                                     Hayward, Working
                                     Safety ‐ a continuous journey, at the
                                     International
                                     Regulators' Offshore Safety Forum,
                                     London; five pages




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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION           DEFENDANT        BP Objection           Other Comments
                                                                                 LIST
TREX‐06005                           February 3, 2000 printout of article by BP PARTIES Newspaper Article Is
                                     Ben Spiess, OT: BP Fined $15.5 Million             Hearsay (FRE 802);
                                     in Dumping of Toxic Waste in Alaska;               Relevance (FRE 401 &
                                     one page                                           402); Prejudicial (FRE
                                                                                        403).
TREX‐06005                           February 3, 2000 printout of article by BP PARTIES Newspaper Article is        Duplicate of above
                                     Ben Spiess, OT: BP Fined $15.5 Million             Hearsay (FRE 802);          row.
                                     in Dumping of Toxic Waste in Alaska;               Relevance (FRE 401 &
                                     one page                                           402); Prejudicial (FRE
                                                                                        403).
TREX‐06006                           United States District Court, Southern BP PARTIES Relevance (FRE 401 &
                                     District of Texas, Judgment in a                   402); Prejudicial (FRE
                                     Criminal Case, United States of America            403).
                                     v. BP Products North America, March
                                     13, 2009, attachments; 13 pages

TREX‐06008                           United States District Court For The     BP PARTIES   Relevance (FRE 401 &
                                     District of Alaska, United States of                  402); Prejudicial (FRE
                                     America v. BP Exploration (Alaska), Inc.              403).
                                     Information, Judgment in a Criminal
                                     Case; seven pages
TREX‐06010                           United States District Court For The     BP PARTIES   Relevance (FRE 401 &
                                     Northern District of Illinois, Eastern                402); Prejudicial (FRE
                                     Division, United States of America v. BP              403); Hearsay (FRE
                                     America, Inc., Deferred Prosecution                   802).
                                     Agreement, attachments; 70 pages

TREX‐06011                           Emergency Planning: Preparedness,     BP PARTIES      Relevance (FRE 401 &
                                     Prevention & Response by Center for                   402); Prejudicial (FRE
                                     Chemical Process Safety, Lessons from                 403); Hearsay (FRE
                                     Grangemouth: A Case History, by                       802); Incomplete (FRE
                                     Michael Broadribb, et al.; 17 pages                   106).




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TRIAL EX NO.       BATES RANGE               SUBJECT / DESCRIPTION            DEFENDANT        BP Objection            Other Comments
                                                                                  LIST
TREX‐06012                           March 2007 U.S. Chemical Safety and      BP PARTIES Inadmissible by
                                     Hazard Investigation Board                          regulation (40 C.F.R.
                                     Investigation Report, Refinery                      Sec. 1611.3(a));
                                     Explosion and Fire, BP, Texas City,                 Hearsay (FRE 802);
                                     Texas, March 23, 2005; 341                          Relevance (FRE 401 &
                                     pages                                               402); Prejudicial (FRE
                                                                                         403).
TREX‐06013                           March 2007 Booz Allen Hamilton           BP PARTIES Relevance (FRE 401 &
                                     Management Systems Review, 2006                     402); Prejudicial (FRE
                                     BPXA GPB OTL Incidents, BP America                  403); Hearsay (FRE
                                     Inc. Final Report; 164 pages                        802).
TREX‐06025                           From 'BP Parties' database, SPU OMS      BP PARTIES                              Missing e‐mail and
                                     gaps PowerPoint; eight pages                                                     other attachments;
                                                                                                                      please substitute.
TREX‐06026                           Failure to Learn,, the BP Texas Cityy BP PARTIES      Hearsayy (FRE
                                                                                                    (    802););
                                     Refinery disaster, by Andrew Hopkins;                 Relevance (FRE 401 &
                                     200 pages                                             402); Prejudicial (FRE
                                                                                           403); Incomplete (FRE
                                                                                           106).
TREX‐06027                           Printout from iWatch News, Renegade BP PARTIES        Hearsay (FRE 802);
                                     Refiner: OSHA says BP "systemic safety                Relevance (FRE 401 &
                                     problem," by Jim Morris, M.B. Bell,                   402); Prejudicial (FRE
                                     May 17, 2010; three pages                             403).

TREX‐06028                           Printout from OSHA website, OSHA         BP PARTIES   Not subject to 803(8)
                                     Fact Sheet, BP History Fact Sheet; two                because it is a press
                                     pages                                                 release statement by a
                                                                                           party (the government)
                                                                                           in the middle of this
                                                                                           litigation; Hearsay (FRE
                                                                                           802); Relevance (FRE
                                                                                           401 & 402); Prejudicial
                                                                                           (FRE 403).



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                                                                                    LIST
TREX‐06032     BP‐HZN‐BLY00053046‐      RB Falcon DEEPWATER HORIZON BOP         BP PARTIES
               53194                    Assurance Analysis, marked
                                        Confidential;
TREX‐06066     BP‐HZN‐                  Exploration and Production, Drilling    BP PARTIES
               2179MDL00333308          and Completions, Beyond the Best
                                        Common Process, marked as
                                        CONFIDENTIAL;
TREX‐06070     BP‐HZN‐MBI00193095 ‐     2009 Annual Individual Performance      BP PARTIES
               193098                   Assessment of Robert Kaluza, Period
                                        Reviewed: 2009, marked as
                                        CONFIDENTIAL;
TREX‐06072     BP‐HZN‐                  Final Report, Blow‐out Prevention       BP PARTIES
               2179MDL00210163 ‐        Equipment Reliability, Joint Industry
               210280                   Project (Phase I?Subsea), May 12,
                                        2009, West Engineering Services,
                                        marked as CONFIDENTIAL,
TREX‐06085     BP‐HZN‐CEC056149 ‐       February 2, 2008 E‐mail from Neil Shaw BP PARTIES
               56152                    to Fergus Addison,
                                        Jeff Childs, Stan Garner, others,
                                        Subject: GOM Safety performance,
                                        2007 GOM Safety Performance,
                                        marked Highly Confidential
TREX‐06086     BP‐HZN‐                  June 18, 2009 E‐mail from Kal Jassal to BP PARTIES
               2179MDL01793819 ‐        Harry Thierens,
               1793840                  Subject: Attachments, attaching Gulf of
                                        Mexico SPU, GoM D&C Risk
                                        Management, Assessment,
                                        Recommendations and Implementation
                                        Plan, marked CONFIDENTIAL




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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION           DEFENDANT          BP Objection         Other Comments
                                                                                   LIST
TREX‐06089     BP‐HZN‐                 BP Gulf of Mexico SPU, Drilling &       BP PARTIES
               2179MDL00332270 ‐       Completions, Recommended Practice
               332328                  for Risk Management, Implementation
                                       Draft, marked as CONFIDENTIAL;

TREX‐06093                             July 19, 2004 E‐mail string among    BP PARTIES
                                       Curtis Jackson, Steve
                                       Robinson, Martin Ward, Subject:
                                       Dispensation on BOP Stack; two pages

TREX‐06221                             July 28‐29, 2010 E‐mail string between BP PARTIES     Hearsay ‐ employee
                                       Daryl Kellingray,                                     statements are not
                                       Erick Cunningham, Subject:                            within scope of
                                       Investigation Team, marked as                         authority (FRE 802)
                                       CONFIDENTIAL; Bates numbers
                                       beginning BP‐HZN‐
                                       2179MDL022200 with last digits cut off

TREX‐06224     BP‐HZN‐2179MDL022341    Email from Brian Morel to Kellingray on HESI                                  Incomplete (FRE
                                       07/20/2009 Re: Macondo Cement                                                 106), please
                                       Design                                                                        substitute
TREX‐06225     BP‐HZN‐                 August 20‐30, 2010 E‐mail string        BP PARTIES    Hearsay ‐ employee
               2179MDL00711599 ‐       between Daryl Kellingray,                             statements are not
               711601                  Erick Cunningham, Subject: Assurance                  within scope of
                                       request, marked as CONFIDENTIAL                       authority (FRE 802);
                                                                                             Incomplete (FRE 106)
TREX‐06232     BP‐HZN‐                 January 11, 2010 ‐ January 12, 2010 E‐ BP PARTIES
               2179MDL00734281‐        mail string between
               734283                  Erick Cunningham and Daryl Kellingray,
                                       Subject: HAL?, marked
                                       "CONFIDENTIAL,"




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TRIAL EX NO.        BATES RANGE                SUBJECT / DESCRIPTION         DEFENDANT            BP Objection         Other Comments
                                                                                LIST
TREX‐06235                             Recommended Practice on Preparation BP PARTIES
                                       and Testing of Foamed Cement Slurries
                                       at Atmospheric Pressure, ANSI/API
                                       Recommended Practice 10B‐4 First
                                       Edition, July 2004, Identical to ISO
                                       10426‐4: 2003, ISO 10426‐4 Petroleum
                                       and
                                       natural gas industries ‐‐ Cements an

TREX‐06237     BP‐HZN‐                 Revised Draft of Group Practice 10‐60, BP PARTIES
               2179MDL02379553 ‐       Zonal Isolation,
               2379602                 marked as CONFIDENTIAL
TREX‐06241     BP‐HZN‐                 Email from Daryl Kellingray to         HESI
               2179MDL00736951‐BP‐     Christopher and Fithian on 10/21/2009
               HZN‐
               HZN                     Re: FW: Cementing SOP
               2179MDL00736953
TREX‐06248     BP‐HZN‐                 Redacted Minutes of a meeting of the BP PARTIES
               2179MDL02004490 ‐       Safety, Ethics and Environmental
               2004493                 Assurance Committee Held at BP
                                       America, Washington, D.C. On 12th
                                       March 2009, marked as CONFIDENTIAL

TREX‐06249     BP‐HZN‐                 Redacted Minutes of a meeting of the BP PARTIES
               2179MDL02004527 ‐       Safety, Ethics and Environment
               2004527                 Assurance Committee Held at 1 St
                                       James's Square, London SW1Y 4PD on
                                       17th September 2010, marked as
                                       CONFIDENTIAL
TREX‐06250     BP‐HZN‐                 Meeting between BP and Hermes        BP PARTIES       Relevance (FRE 401 &
               2179NDK02302487 ‐       (Equity Ownership Services) 23RD                      402); Prejudicial (FRE
               2302491                 September 2010, BP's offices, 1 St                    403); Hearsay ‐
                                       James's Square, SW1Y 4PD, marked as                   contains statements by
                                       CONFIDENTIAL                                          Hermes (FRE 802).



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                                                                                    LIST
TREX‐06253     BP‐HZN‐                  Redacted Minutes of a meeting of the    BP PARTIES
               2179MDL02004414 ‐        Board of Directors of BP p.l.c. Held on
               2004417                  20th June 2010 at 1 St James's Square,
                                        London SW1Y 4PD, marked as
                                        CONFIDENTIAL
TREX‐06254     BP‐HZN‐                  Redacted document titled BP             BP PARTIES    Relevance and Rule 403
               2179MDL02340758          Governance Issues, 21 June 2010,                      ‐ discussion of hiring
                                        marked as Highly Confidential                         practices (FRE 401‐403)

TREX‐06262     BP‐HZN‐BLY00188729 ‐     FATAL ACCIDENT INVESTIGATION            BP PARTIES    Relevance (FRE 401 &
               188920                   REPORT, Isomerization Unit Explosion                  402); Prejudicial (FRE
                                        Final Report, Texas City, Texas, USA,                 403); Hearsay within
                                        Date of Incident: March 23, 2005, Date                hearsay (FRE 802).
                                        of Report, December 9, 2005,
                                        Approved for release by J. Mogford,
                                        Investigation team leader, marked as
                                        CONFIDENTI
TREX‐06300                              National Commission on the              BP PARTIES    Hearsay (FRE 802);
                                        Deepwater Horizon oil spill and                       Incomplete (FRE 106).
                                        offshore drilling
TREX‐07001     No bates number          Cameron EB 852D Revision A1‐ Shear CAM
                                        Ram Product Line
TREX‐07007     BP‐HZN‐BLY00111439 ‐     Cameron Daily Report Sheet ‐ Prepared CAM
               BLY00111440              by Cameron filed
                                        service representative after performing
                                        work on the DWH. Report indicates
                                        that the middle pipe ram bonnet was
                                        opened cement was compacted in the
                                        ram, causing the ram not to fully close
                                        on 5" pipe."




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                                                                                    LIST
TREX‐07008     No bates number           Hand written calculations performed     CAM       Hearsay (FRE 802), can
                                         by the witness (Erwin, Carter) during             be used as admission
                                         the deposition regarding shear                    against Cameron but
                                         pressure                                          otherwise hearsay;
                                                                                           created by witness
                                                                                           during deposition

TREX‐07010     CAM_CIV_0030379 ‐       Email ‐ From Erwin, Carter To: 'subsea' ‐ CAM
               CAM_CIV_0030380         In the email Erwin
                                       informs the recipient that the deadman
                                       will not follow the EDS sequence
                                       selected on the panel, that it has a
                                       predetermined sequence that it will
                                       once all the conditions are met. Erwin
                                       then lis
TREX‐07011     TRN‐MDL‐00497493 ‐ TRN‐ Email ‐ From: Erwin, Carter; To: Fry,     CAM
               MDL‐                    Michael ‐ Erwin
               00497499                provides the steps necessary to
                                       activate the deadman system. Email
                                       also includes photos and schematics.
TREX‐07019     CAM_CIV_0077559 ‐       From: Van Lue, Jason To: Erwin, Carter CAM
               CAM_CIV_0077560         CC'd/BCC's: King,
                                       Don; Coronado, Richard; Whitby, Mel ‐
                                       Subject: "Sol valve 103 did not fire via
                                       the deadman"
TREX‐07021     CAM_CIV_0016112         Field Service Order No. 121096 ‐          CAM
                                       Converting the lower pipe
                                       ram to a test ram.




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TRIAL EX NO.         BATES RANGE                 SUBJECT / DESCRIPTION             DEFENDANT        BP Objection         Other Comments
                                                                                      LIST
TREX‐07024     CAM_CIV_0130520 ‐         Cameron Safety Alert 22070 ‐              CAM
               CAM_CIV_0130521           Following the conclusion the
                                         DNV investigation/testing of the DWH
                                         BOP Cameron issued this safety alert to
                                         notify customers of the Contributing
                                         causes of the DWH's BOP failure
                                         according to the DNV findings.

TREX‐07026     CAM_CIV_0078870         Email ‐ From: Erwin, Carter ‐ To:        CAM
                                       McWhorter, David ‐
                                       Subject: Upgrade Opportunities ‐ The
                                       email references an
                                       excel spreadsheet which was produced
                                       in its native format. The bates number
                                       for the excel spreadsheet is:
                                       CAM_CIV_0078871
TREX‐07028     CAM_CIV_0042929 ‐       Cameron ‐ MK III MODEL 80 Multiplex CAM
               CAM_CIV_0042933         BOP Control Pod ‐
                                       Transocean Offshore Deepwater ‐
                                       Budgetary Quatation No.: 20506009 ‐
                                       Date: January 21, 2009
TREX‐07040     CAM_CIV_0079830         Email with attachment ‐ From: Erwin, CAM
                                       Carter ‐ To:
                                       stoitzd@bp.com ‐ Erwin sends as an
                                       attachment to the
                                       email a power point presentation titled
                                       "TL Blowout Accessories ‐ Identification
                                       and Reference"
TREX‐07046     BP‐HZN‐BLY0010345 ‐ BP‐ Email with attachment ‐ From Knudsen, CAM
               HZN‐                    Torben ‐ To: Pere,
               BLY00103461             Allen; Corser, Kent ‐ attached to the
                                       email is the "searability chart from the
                                       Horizon"



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TRIAL EX NO.        BATES RANGE                 SUBJECT / DESCRIPTION           DEFENDANT          BP Objection           Other Comments
                                                                                   LIST
TREX‐07114     TRN‐USCG_MMS‐            April 5, 2010 E‐mail from Barry Braniff TO
               00043226 ‐43228          with attachments
TREX‐07122                              Transocean Drilling Deepwater Wells, TO
                                        Steve Hand, Well Operations Manager,
                                        44 pages
TREX‐07124                              Incident Title; 22 pages                TO
TREX‐07134     TRN‐MDL‐00872232 ‐       Jim Cunningham, Egypt/Mediterranean TO
               72257                    Sea, Loss of Well Control and
                                        Emergency Response, Event: August
                                        20, 2004 at 21:30 hrs, Mediterranean
                                        District, Eurafrican Unit

TREX‐20006                              UK HSE Major Incident Investigation     BP PARTIES    Hearsay (FRE 802);         Please provide bates
                                        Report (Grangemouth)                                  Relevance (FRE 401 &       labeled version.
                                                                                              402); Prejudicial (FRE
                                                                                              403).
TREX‐20007     BP‐HZN‐                  Subsea BOPs: Ram Configuration,         BP PARTIES
               2179MDL00647737‐BP‐
               HZN‐
               2179 M D L00647742
TREX‐20008     BP‐HZN‐                  BP GoM SPU Recommended Practice         HESI
               2179MDL00654767‐BP‐      for Cement Design and Operations in
               HZN‐                     DW GoM
               2179MDL00654802
TREX‐20009     BP‐HZN‐                  Email from Robert Beirute to Fleece, et HESI          Robert Beirute e‐mail is
               2179MDL01992350‐BP‐      al on 07/20/2009 Re: Officially                       hearsay (FRE 802);to
               HZN‐                     Declaring Success on Prod Cement Job                  the extent covered by
               2179MDL01992351                                                                the Boots & Coots
                                                                                              order (Doc. 3346), BP
                                                                                              preserves its objections

TREX‐20010     BP‐HZN‐                  Email from Gagliano to Morel on         HESI
               2179MDL00250637‐ BP‐     04/16/2010 Re: Cement Procedure
               HZN‐2179MDL00250639


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                                                                                  LIST
TREX‐20011     HAL_0125707‐           Email from Daivon Craft to Bradley and HESI      Can be used as
               HAL_0125708            Chaisson on 06/08/2010 Re: Livelink              admission against
                                                                                       Halliburton, but
                                                                                       otherwise hearsay (FRE
                                                                                       802).
TREX‐20012     BP‐HZN‐BLY00174217‐BP‐ N2 Job Summaries                       HESI
               HZN‐
               BLY00174219
TREX‐20013                            MBI Testimony of Jimmy Harrell         TO         Inadmissible by
                                                                                       statute (46 U.S.C. Sec.
                                                                                       6308(a) and supporting
                                                                                       caselaw).

                                                                                              Hearsay (FRE 802).
TREX‐20014     CAM_CIV_0018783 ‐        Cameron Controls Meetingg Minutes ‐ CAM
               CAM_CIV_0018784          addresses the configuration and design
                                        of the BOP ‐ RDF is looking to see if the
                                        Deadman System is a permissible
                                        substitute for an acoustic system. ‐
                                        Recipients include: Coronado, Richard;
                                        Williams, Bolie; Buckley, Marg

TREX‐20015     CAM_CIV_0018778 ‐        Cameron Controls Meeting Minutes ‐ CAM
               CAM_CIV_0018780          Progress Meeting ‐
                                        Topics of the meeting included: having
                                        S135 (#38) and (#24.7) pipe delivered
                                        to Cameron for shear testing; bottle
                                        capacity for the LMRP and Stack;
                                        number of 15 gal. bottles that would be
                                        required to ha




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                                                                                  LIST
TREX‐20016     CAM_CIV_0019003         From: Byrd, Mike To: Weisinger, Don     CAM
                                       CC/BCC: Wink, Kevin; Taylor, Robert;
                                       Metcalf, Dick; Welch, Dan; Roberson,
                                       Dick ‐ Email regarding the scheduling of
                                       a pre‐planning meeting, Byrd would
                                       like to who from Vastar (BP) should
                                       participate.
TREX‐20017     CAM_CIV_0018983 ‐       From: Byrd, Mike To: Weisinger, Don; CAM
               CAM_CIV_0018984         Weathers, Drew; Wink, Kevin; Metcalf,
                                       Dick; Rowan, David; Taylor, Robert;
                                       Walters, Dave CC'd/BCC'd: Sudhir,
                                       Reddy ‐ Setting forth the plans /
                                       schedule for a HAZOP pre‐planning
                                       meeting where,
                                       among other items, the grou
TREX‐20018     CAM_CIV_0018758 ‐       Cameron Controls Meeting Minutes ‐ CAM
               CAM_CIV_0018761         Progress Meeting ‐
                                       Topics of the meeting included: "The
                                       following are the Shear Pressures
                                       required to shear on the surface using
                                       SBR's
                                       based on the shear tests conducted on
                                       8/6/99 at the Cameron test lab: 2178
                                       Psi for 5
TREX‐20019     CAM_CIV_0018900         From: Byrd, Mike To: Reddy, Sudhir;      CAM
                                       Walters, Dave; Wink,
                                       Kevin, Welch, Dan ‐ cc'd/bcc'd: Cotton,
                                       Alfred; Metcalf, Dick; Weisinger, Don ‐
                                       Byrd sends to the recipients, which
                                       include two individuals from Vastar
                                       (BP), the revised TPP for the EDS
                                       sequence. T




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                                                                                   LIST
TREX‐20020     CAM_CIV_0018812 ‐ CAM‐ From: Walters, David To: Wink, Kevin      CAM
               CIV_0018813            cc'd/bcc'd: Cotton, Al;
                                      Reddy, Sudhir; Courtney, Joni ‐ Walters
                                      wants to discuss
                                      who Cameron should be "interfacing"
                                      with, whether it
                                      should be Vastar (BP) or RBF (TO) ‐
                                      Walters says in the email
                                      "we'll address Vastar
TREX‐20021     CAM_CIV_0015734 ‐      Cameron TP‐1164 Revision 02 ‐           CAM
               CAM_CIV_0015735        Subject: API 16A Shear Test Procedure
                                      for Cameron Shear Rams; Object: "To
                                      Investigate the Shearability for
                                      Tubulars with Cameron Shear Rams"

TREX‐20022     CAM_CIV_0070723          Engineering Report Abstract, Report     CAM
                                        No. 3629 Dated: 10/28/2008 ‐
                                        Regarding: tests performed to SBR to
                                        determine the fatigue life of the 18‐
                                        15M TL SBR Shear ram assembly ‐18‐
                                        15M TL DVS side packers were used in
                                        place of the original SBR side packers.
                                        As a
TREX‐20023     CAM_CIV_0011681‐         Cameron Controls ‐ Daily Report Sheet ‐ CAM                                   Incomplete (FRE
               CAM_CI V_0011683         December 21, 2008                                                             106), please
                                                                                                                      substitute complete
                                                                                                                      version
TREX‐20024     CAM_CIV_0015711‐         Cameron Engineering Report Abstract, CAM
               CAM_CIV_0015714          Report No. 3630 ‐ Subject: 18‐15 TL
                                        CDVS Shear Tests ‐ Verifying the
                                        shearing
                                        and sealing capabilities of the CDVS
                                        RAMs



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                                                                                   LIST
TREX‐20025     CAM_CIV_0028575         From: Van Lue, Jason To: Stringfellow,   CAM
                                       William CC'd/BCC'd: Cooper, Nathan;
                                       King, Don; McWhorter, David; Whitby,
                                       Mel; Gaude, Edward ‐ Outlines what
                                       accumulators are available on the DWH
                                       BOP and the functions they are
                                       intended to operate.

TREX‐20026     CAM_CIV_0225658 ‐       Email chain involving multiple people ‐ CAM
               CAM_CIV_0225660         Email of particular interest From:
                                       McWhorter, David To: King, Don;
                                       Bourgeois,
                                       Russell CC'd/BCC: Corkhill, John;
                                       Whitby, Mel ‐ Dated 5/14/10 regarding
                                       Cameron'ss lack of shear testing with
                                       Cameron
                                       pressure in the well bore.

TREX‐20027     CAM_CIV_0313663         Email From: King, Don To: Chiasson,   CAM
                                       Glen; McWhorter, David; Whitby, Mel
                                       regarding the battery levels in DWH
                                       BOP pods.
TREX‐20028     CAM_CIV_0311501         Cameron ‐ Drilling Systems            CAM
                                       Performance ‐ "Drilling R&D Review
                                       Post Horizon ‐ July 9, 2010"
TREX‐20029     CAM_CIV_0230424         Cameron ‐ Drilling Systems            CAM             Irrelevant to the extent
                                       Performance ‐ Drilling Systems Update                 beyond Phase I trial
                                       August 2010 ‐ Power Point                             because discusses junk
                                       presentation on intervention methods                  shot, etc. (FRE 401‐
                                       tried on the Macondo well including                   403).
                                       the Junk Shot and Top Kill methods.




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TREX‐20030     CAM_CIV_0019885 ‐       Cameron Products and Services           CAM
               CAM_CIV_0019892         Overview 2006 ‐ Catalog of products
                                       and service available from Cameron in
                                       2006
TREX‐20031     CAM_CIV_0334582 ‐       Cameron ‐ Drilling System Training for CAM
               CAM_CIV_0334767         Transocean on "TL" BOP Parts and
                                       Features




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